      Case 3:12-cr-04352-JLS                 Document 514          Filed 08/29/14           PageID.2250           Page 1 of 4
AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA
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                                                                                                                         -jj ,J:~
            UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                 V.                                 (For Offenses Committed On or AfterNovl\fber 1, l:~~?f I'" ,,,
                LIANNA AVETISY AN (9)
                                                                       Case Number:         12CR4352-JLS         11)             !H :'tl1 v
                                                                    MICHAEL PANCER
                                                                    Defendant's Attorney
REGISTRATION NO.                 63856112
o ­
IZI pleaded guilty to count(s)          ONE OF THE INDICTMENT

D was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                         Count
Title & Section                       Nature of Offense                                                                 Number(s)
18 USC 371                            CONSPIRACY                                                                           1




    The defendant is sentenced as provided in pages 2 through                 4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                                    is          dismissed on the motion of the United States.

IZI   Assessment: $100.00 IMPOSED




IZI   Fine waived            0 Forfeiture pursuant to order filed                                                , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    AUGUST 22. 2014
                                                                    Dateoflm~sit~~~

                                                                      'ON. JANIS L. SAMMARTINO
                                                                      NITED STATES DISTRICT JUDGE




                                                                                                                        12CR4352-JLS
               Case 3:12-cr-04352-JLS                 Document 514              Filed 08/29/14            PageID.2251             Page 2 of 4
       AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

       DEFENDANT:                  LIANNA A VETISYAN (9)                                                                        Judgment - Page 2 of 4
       CASE NUMBER:                12CR4352-JLS

                                                                   PROBATION
The defendant is hereby sentenced to probation for a term of:

FIVE (5) YEARS

        The defendant shall report to the probation office within 72 hours from the date of sentencing.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of probation, unless otherwise ordered by court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
D
            substance abuse. (Check, if applicable.)
I:8l        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
I:8l        Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
D           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense. (Check If applicable.)
D           The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

              If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any such
        fine or restitution in accordance with the Schedule of Payments set forth in this judgment
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                           STANDARD CONDITIONS OF PROBATION
       1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)  the defendant shall support his or her dependents and meet other family responsibilities;
       5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
           reasons;
       6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted permission to do so by the probation officer;
       10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view of the probation officer;
       11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
           the court; and
       13) as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
            with such notification requirement.




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     Case 3:12-cr-04352-JLS       Document 514          Filed 08/29/14   PageID.2252      Page 3 of 4
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:           LIANNA AVETISYAN (9)                                               Judgment - Page 3 of 4
CASE NUMBER:         12CR4352-JLS

                              SPECIAL CONDITIONS OF SUPERVISION

   1. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications
      or data storages devices or media, and effects to search at any time, with or without a warrant, by any
      law enforcement or probation officer with reasonable suspicion concerning a violation of a conditions of
      probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
      duties. 18 U.S.C. §§3563(b)(23); 3583(d)(3).

   2. Be prohibited from opening checking accounts or incurring new credit charges or opening additional
      lines of credit without approval of the probation officer.

   3. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.

   4. The Court orders that the defendant participate in the Home Confinement Program, which includes
      electronic monitoring and may include Global Positioning Satellite (GPS), or other location verification
      methods, for a term not to exceed 5 months. The defendant is responsible for the costs of the program
      not to exceed $12.00 per day.




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       Case 3:12-cr-04352-JLS         Document 514        Filed 08/29/14      PageID.2253       Page 4 of 4
 AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:             LIANNA AVETISYAN (9)                                                   Judgment - Page 4 of 4
CASE NUMBER:           12CR4352-JLS



                                           RESTITUTION

The defendant shall pay restitution in the amount of    $307 ,161.00          unto the United States of America.




This sum shall be paid as follows:


Pay restitution in the amount of $307,161.00 (jointly and severally) to Citigroup, Inc., through the Clerk, U.S.
District Court. Payment of restitution shall be forthwith at the rate of $200.00 per month during probation.
These payment schedules do not foreclose the United States from exercising all legal actions, remedies, and
process available to it to collect the restitution judgment.

Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States
Attorney's Office of any changes in the defendant's mailing or residence address, no later than thirty (30) days
after the change occurs.




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